      Case Case
           2:20-cr-00287-JAD-BNW
                2:20-cr-00287-JAD-BNW
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     Nevada Bar Number 13644
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 6
     Counsel for United States
 7

 8                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 9

10    UNITED STATES OF AMERICA,                  Case No. 2:20-cr-00287
                             Plaintiff,
11
          vs.                                    EX PARTE MOTION TO UNSEAL CASE
12
      REYNALDO STOCKER,
13
                             Defendant.
14

15

16              COMES NOW, the United States of America by and through NICHOLAS A.

17   TRUTANICH, United States Attorney, and JENNIFER J. OXLEY, Assistant United States

18   Attorney, respectfully moves this Court to unseal the criminal case indictment in the above-

19   captioned matter.

20   //

21   //

22   //

23   //
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1            The defendant has been arrested in California on unrelated charges and will be

2    brought into federal custody for an out-of-state initial appearance in the Eastern District of

3    California. Therefore, the need to keep the complaint sealed has expired.

4    Dated this 7th day of January, 2021.

5                                                      Respectfully submitted,
       IT IS SO ORDERED
6
       DATED: 10:58 am, January 11, 2021               NICHOLAS A. TRUTANICH
7                                                      United States Attorney

8                                                        /s/Jennifer Oxley
                                                       _________________________
       BRENDA WEKSLER
9                                                      JENNIFER J. OXLEY
       UNITED STATES MAGISTRATE JUDGE
                                                       Assistant United States Attorney
10

11   The Government’s motion is hereby _______________.

12   SO ORDERED:

13   _________________________________                        Dated:___________________

14   United States Magistrate Judge

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